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 6 Counsel for Plaintiff
   PLM Operations, LLC
 7

 8                                    UNITED STATES DISTRICT COURT

 9                                   NORTHERN DISTRICT OF CALIFORNIA

10
                                                       Case No. 3:21-cv-04669-JCS
11    PLM OPERATIONS, LLC,

12                      Plaintiff,                     NOTICE OF SETTLEMENT AND
                                                       REQUEST FOR ENTRY OF
13             v.                                      CONSENT JUDGMENT AND
                                                       PERMANENT INJUNCTION
14    TERESITA FERNANDEZ, and DOES 1-5,
      inclusive,
15
                        Defendants.
16

17

18 TO THE COURT:

19            Plaintiff PLM Operations, LLC (“Plaintiff”) and Defendant Teresita Fernandez
20 (“Defendant”) (collectively the “Parties”) have entered into a written settlement agreement, pursuant

21 to which, among other things, they consent to entry of consent judgment and permanent injunction.

22 Plaintiff respectfully submits the attached [Proposed] Consent Judgment and Permanent Injunction.

23            Dated: August 5, 2021
24                                             SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
25
                                               By:          /s/ Laura L. Chapman
26                                                         LAURA L. CHAPMAN
                                                 Attorneys for Plaintiff PLM Operations LLC
27
                                                     -1-                            Case No. 3:21-cv-04669-JCS
28
                              NOTICE OF SETTLEMENT AND REQUEST FOR ENTRY OF
                               CONSENT JUDGMENT AND PERMANENT INJUNCTION
     SMRH:4841-0419-9668.1
         Case 4:21-cv-04669-HSG Document 10 Filed 08/05/21 Page 2 of 2




 1                                         PROOF OF SERVICE

 2                           STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3       At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is Four
 4 Embarcadero Center, 17th Floor, San Francisco, CA 94111-4109.

 5      On August 5, 2021, I served a true copy of the following document(s) described as
   NOTICE OF SETTLEMENT AND REQUEST FOR ENTRY OF CONSENT JUDGMENT
 6 AND PERMANENT INJUNCTION on the interested parties in this action as follows:

 7                                           Teresita Fernandez
                                          teresita9296@gmail.com
 8
           BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of the
 9 parties to accept service by e-mail or electronic transmission, I caused the document(s) to be sent
   from e-mail address shikim@sheppardmullin.com to the persons at the e-mail addresses listed
10 above. I did not receive, within a reasonable time after the transmission, any electronic message
   or other indication that the transmission was unsuccessful.
11
           I declare under penalty of perjury under the laws of the United States of America that the
12 foregoing is true and correct and that I am employed in the office of a member of the bar of this
   Court at whose direction the service was made.
13
           Executed on August 5, 2021, at San Francisco, California.
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17                                                                      Shirlyn Kim
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                                                                                    Case No. 3:21-cv-04669-JCS
     SMRH:4841-0419-9668.1
